              Case 2:11-cr-00213-DN Document 712 Filed 01/10/13 PageID.2178 Page 1 of 6
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
              Sheet 1

                                                     U.S. D1STRICT CQUR r
                                          UNITED STATES DISTRICT COURT
                                                         zon JAN 10 D 3: 2b
                                                                   I



              UNITED STATES OF AMERICRISTRICT OF UT/}H                            JUDGMENT IN A CRIMINAL CASE
                                  v.                     BY: ______       ~._


                    ERIK MAURICIO MEZA                     DEPUTY CLER~
                                                                          )       Case Number: DUTX 2: 11-CR-00213-01 0 DN
                                                                          )       USM Number: 70590-065
                                                                          )
                                                                          )        Scott C. Williams
                                                                                  Defendant's Attorney
THE DEFENDANT:
!t'pleaded guilty to count(s)          1ss of the Felony Information

o pleaded nolo contendere to count(s)
  which was accepted by the court.
o was foundguilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:




                                    Substance Containing a Detectable Amount of



       The defendant is sentenced as provided in pages 2 through           __6__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o The defendant has been found not guilty on count(s)
rt'Count(s)      1 and 1s                                   0 is   ~are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economIC circumstances.

                                                                              1/8/2013
                                                                          Date ofImposition of Judgment



                                                                          Signature   Of~Jl
                                                                              David Nuffer                              U.S. District Judge
                                                                          Name and Title of Judge



                                                                          Date
               Case 2:11-cr-00213-DN Document 712 Filed 01/10/13 PageID.2179 Page 2 of 6
AO 245B     (Rev. 09/11) Judgment in Criminal Case
            Sheet 2 - Imprisonment
                                                                                                  Judgment - Page _ _2_    of   6
DEFENDANT: ERIK MAURICIO MEZA
CASE NUMBER: DUTX 2:11-CR-00213-010 ON


                                                          IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of:
  87 months.




    i     The court makes the following recommendations to the Bureau of Prisons:
                                           ,
  Defendant be designated and housed at a facility located in Sheridan, Oregon to facilitate family visits. Defendant participate
  in RDAP.


    i     The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
          o at - - - - - - - - - - - - - - - - - o a.m.      o p.m.      on

          o as notified by the United States Marshal.
   ' 0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          o before 2 p.m. on
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.

                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                      to

 a _______________________ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL



                                                                        By _ _ _ _ _ _~========~~~~==~------
                                                                                            DEPUTY UNITED STATES MARSHAL
                 Case 2:11-cr-00213-DN Document 712 Filed 01/10/13 PageID.2180 Page 3 of 6
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 3 - Supervised Release·
                                                                                                                  Judgment-Page    _--,,-3_ of          6
DEFENDANT: ERIK MAURICIO MEZA
CASE NUMBER: OUTX 2:11-CR-00213-010 ON
                                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
 48 months.


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from an>: unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
 D        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

          The defendant shall not possess a firearm, ammunition, destru~tive device, or any other dangerous weapon. (Check, if applicable.)

          The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

          The defendant shall comply with the requirements ofthe Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
 D        as direc~ed by the probatlon offi~er, the Bureav of Prisons, or any state sex offender registration agency in which he or she resides,
          works, 1S a student, or was conv1cted of a quabfymg offense. (Check, if applicable.)

 D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
         If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
 Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
 on the attached page.

                                             STANDARD CONDITIONS OF SUPERVISION
     1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)     the defendant shall support his or her dependents and meet other family responsibilities;
     5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
            acceptable reasons;           .
     6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
     7)     the defendant shall refrain from excessiye use of alcohol and shall not purchase, possess, use, d~stribute, or ad!ll~ister any
            controlled substance or any paraphernaba related to any controlled substances, except as prescnbed bya phys1cIan;
     8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9)     the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
            felony, unless granted permission to do so by the probation officer;
  10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
            contraband observed in plain view of the probation officer;
  11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
            permission of the court; and                                 .                                       . .

  13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
            record or ~ersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
            defendant s compliance with such notification requirement.                                                                                 .
  14)      The defendant shall submit his or her person, residence, office or vehicle to search, conducted by the probation office at a reasonable time and in a
           reasonable manner based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a search
           may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to this condition.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 3C - Supervised Release
                                                                                           Judgment-Page    4     of       6
DEFENDANT: ERIK MAURICIO MEZA
CASE NUMBER: DUTX 2:11-CR-00213-01 0 DN

                                        SPECIAL CONDITIONS OF SUPERVISION
 1. The defendant will submit to drug/alcohol testing under
                                                          . a co-payment
                                                                  .      plan as directed by the probation office.

 2. The defendant shall participate in a substance-abuse evaluation and/or treatment under a co-payment plan, as directed
 by the probation office. During the course of treatment, the defendant shall notconsume alcohol nor frequent any
 establishment where alcohol is the primary item of order.

 3. The defendant shall not have any contact with any member or associate of a criminal street gang/prison gang either in
 person, by mail, by phone, bye-mail, by third person, or by any other method.

 4. The defendant shall not possess material which gives evidence of criminal street gang/prison gang involvement or
 activity.

 5. The defendant shall not receive any new tattoos associated with a criminal street gang prison gang.

 6. The defendant shall not wear clothing or other items that may be identified with a criminal street gang/prison gang.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 5 - Criminal Monetary Penalties
                                                                                                   Judgment-Page _ _5
                                                                                                                    __       of         6
DEFENDANT: ERIK MAURICIO MEZA
CASE NUMBER: OUTX 2:11-CR-00213-010 ON
                                                CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                       Assessment                                       Fine                              Restitution
TOTALS             $ 100.00                                           $ 0.00                           $ 0.00



 D The determination of restitution is deferred until         ---
                                                                      . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

 D The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned p'ayment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
     before the United States is paid.




 TOTALS                               $                        0.00        $                      0.00
                                                                               ---------


 D    Restitution amount ordered pursuant to plea agreement $
                                                                       ------------
 D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D    The court determined that the. defendant does not have the ability to pay interest and it is ordered that:

      D the interest requirement is waived for the            D fme     D restitution.
      D    the interest requirement for the           D fme    D restitution is modified as follows:


 * Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.                             .
               Case 2:11-cr-00213-DN Document 712 Filed 01/10/13 PageID.2183 Page 6 of 6
AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6 - Schedule of Payments

                                                                                                               Judgment - Page ~=6~ of                   6
DEFENDANT: ERIK MAURICIO MEZA
CASE NUMBER: DUTX 2:11-CR-00213-010 DN

                                                      SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     ri/ Lump sum payment of $ _1_0_0_.0_0~~~_ due immediately, balance due
           o     not later than - - - - - - - - - - - - - - - - - - - - , or
           o     in accordance         o C, 0 D, 0 E, or                        0 Fbelow; or
B     0    Payment to begin immediately (may be combined with               . 0 C,        o D, or       0 F below); or
 c    0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D    0    Payment in equal                          (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

 E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F    0    Special instructions regarding the paym~nt of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All CrIminal monetary penalties, except those payments made througb the Federal Bureau of PrIsons' Inmate Financia1
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




 D    The defendant shall pay the cost of prosecution.

 D    The defendant shall pay the following court cost(s):

 D    The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in ~he fol~ow.ing order: (1) ~ssessment, (2) J:e~tituti~n principal, (3) rest~tution interest, (4) fme principal,
 (5) fine mterest, (6) communIty restItutIO!1, (7) penaltIes, and (8) costs, mcludmg cost of prosecutIOn and court costs.
